Case 2:13-cv-20000-RDP Document 2735-32 Filed 06/01/21 Page 1 of 3            FILED
                                                                     2021 Jun-01 PM 04:52
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




                     Exhibit 320
                     Case 2:13-cv-20000-RDP Document 2735-32 Filed 06/01/21 Page 2 of 3
Newspapers·
         by ~ ancestry·
                                                                                                                             The Tuskegee News (Tuskegee, Alabama)                                      ÿ1ÿÿ2345ÿ678ÿ9 5ÿ9   ÿ1ÿÿ7ÿ
377                                                                                                                                                                          ÿÿ678ÿ9 5ÿ! 9




                                                          Why Worry About Hospital Bills'!

                                                                                                            COMMUNITY -WIDE CROUP

                                                         Hospital - - -                                   Medical - - - Surgical Protection

                                                                                                Protect Yourself and your family-Euroll Under thr


                                                                                      BLUE CROSS PLAN

                                                                                                                                 Blue Crolls ii nation•-wide, with a Blue
                                                                                                                             Cl'OM Plan operating in every state.
                                                                                                                                 Blue Cl'088 - Blue Shield has been endont-
                                      What You Get - Hospital Service                                                        ed by all local doctors u the answer to better
                                                                                                                             health condition&.
                                      1.n.1rt,.,.1,o1.....,;w....,..;.-i.~a,....,
                                                    ,,...___,,_.-ttlia.,,_.,....
                                           - . , t ..                                                                           There are over 2600 Alabama (employer
                                                                                  p,......
                                                   ....,--t,, ... .i.....,_ ..... __..,
                                           ..-,.•"'•U~llutiaaoiMiolnlt ..
                                           CJ".-                                                                             group) firms and corporations participating.
                                           C-.......-.tio.14N~wiUNau.-..l.                                                       Over 40,000,000 people in America are
                                      1.l'ri-rate..-a...i"-nl,or                                                             membenol Blue Cross- Blae Shield, the med-
                                      s.w...i...,..,,._,.._                                                                  ical-surgical part of Blue Crose.
                                      -.u.. o1_..fu.a,,_•
                                      s.s........... _ . , _ _ _                      ,_,-Jtac
                                                                         ....... ...., ,..t.at.

                                           , _ ..,..___,. .... aU ~llu.lioooo - - - - ..
                                                                                                                                Over $6.000,000 pa.id in members hospital
                                                                                                                             and dOCXOr bills. You have no claims to file.
                                           ~ud~:!::ft.                      Mt. o/ CIO!ffi-                                  Your doctor and hospital file for you.
                                           _......,w,.._
                                      ._ N--,. MrnCe NI -                 _..., '-f>lutJ .,.,_ f•


                                                                                      .,.mac.
                                      --~•.
                                      . . .- ;.. i....... 19r7• . . . . . . . . . .


                                      l0.C-..1N11...... car.•,
                                                                                                                  WHAT IT COSTS
                                      II . A4•inial--r o/ ..I_. tr...J......_
                                                                                                                 PriY&te Room Serrice
                                      "n.->ttaloomo. ... , - . . . . . . . . . - - . ~ .....
                                                                                                                    M---r....."-
                                                                                                                                                            Our new City-County Hospital will be


                                                                                                                        .
                                                                                                                 Medical • Suraical Rider
                                                                                                                                                         ready to serve you under 'Blue c......•
                                                                                                      ........
                                                                                                       ,._              T-        w""'
                                                                                                                                ........         T-      Eighty-one other hospitals in Alabama off-



                                                                                                       -
                                      Whnt You Gel - Alt.-dicul -                          urgicul                                                 A
                                                                                                                                                         er similar service.
                                      I. FM 4o11,,n rw fin! ..Wt ....i U.00 ,_. _., ....
                                         ...,_.1 ..W1 ... a ...__ .....a. .... _._ lo
                                         -.fi-4 ta• •••pJt.el ,.,, -4al .,.,._ p.,,_b
                                                                                                                     .....       ,.....w-.       . ...      Blue Croa- B_Jue Shieldja endorsed by all

                                                                                                            .,...... ....
                                                                                                             _                        ... .....
                                         ~II I N - · f• a . . - 1 - o/ 21.Wb ia a-,
                                           --1rac1,._,.,
                                                                                                         H...._,                   Ho..._.               local doctora.
                                      J,   s..,...-•,   r- ,.,._     P,00 le III0.00 ........
                                           -   Iha Sc:a...l•i. of 8-rito f.,, - • • ' - • , . . .                                   Wil•
                                           f--...llaa ...... llal••• MC.WoelOc. •
                                           d!.1,i. Mulm- ,-,_..1 f• all •l'flul .,_..


                                      s. Matemitr
                                                              azoo..oo • • - , , - -
                                           ,.....,.. ,.,. ..1Mcn.._,.,,,_._..........,._
                                           .:..,.111..iw ..

                                                             11   ~ .....     ,.,,. -
                                                                              tlM , . .;i,
                                                                                                      .............. .....
                                                                                                       H......_W',la            H......._Wil•
                                                                                                                               .....ucww...      .....
                                                                                                                                                            Under Blue Cl'OII - Blue Shield you may
                                                                                                                                                         select hospital and doctor of your choice.
                                                                                                                                                         All people workirll', where 6 or more are
                                                                                                                                    "'""'"
                                                        UN
                                           -INl(.I (all• \M l'Ww Mo .... ,. o/f«t al


                                           •.,.• -1-
                                           kaM IJ_t1,.t ... 1e.._.i$IO.OOi.,M7-
                                           J.,.r fw - -• oklh-.y a...i tt00.00 fw C.-                   H..._M _.
                                                                                                       ww.......1.1
                                                                                                      °'""""-'- ,.   .....
                                                                                                                                 H...... •
                                                                                                                                w-. ....... JI
                                                                                                                                .,...,_.,.._     .....
                                                                                                                                                         employed (and under 66 yean of age) are
                                                                                                                                                         elial'ble.

                                                                                                                                       II




                                                                                                                       Hospital Service Corporation
                                                                                                       2119 Finl A,·eoue North                                          Birmingham 3, Alabama




"83ÿ#ÿ! 9ÿ$7ÿ%&&ÿ'3ÿ'(                                                                                                                                                          Newspape .1TM
                      Case 2:13-cv-20000-RDP Document 2735-32 Filed 06/01/21 Page 3 of 3
Newspapers-                                                                    The Selma Times-Journal (Selma, Alabama)           · Sun, Jul 3, 1949 · Page 21
         by ~ ancestry·
https://www.newspapers.com/image/570416524                                                                                            Printed on May 12, 2021




                                                                                                           -Cl-• --_...
                                                                                                           ______
                                                                                                           _ _...,_.,._ .,
                                                                                                           __..,---....,



                               BUILD for COMFORT!
                                                                                                           ___ ""'_......,
                                                                                                           ......_,'4.T•-
                                            for SAFETY!
                                            for BEAUTY!
                                LET US ...
                                     ,- ...
                               ,;..,..           ... ~w111,-.wi••-..........
                               _.,.,... ."-'-l,,--....,_~           .~




                                                                                                                              ,
                                                                                                                             ,.




Copyright © 2021 Newspapers.com. All Rights Reserved.
                                                                                                                                      Newspapet.          ~ TM
